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'liioAO 245D                                                        #229
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 1



                                        UNITED STATES DISTRICT COURT                                                                lL.~/)
                                                             Southern District of Illinois                                    DEC I
                                                                                                                 SoCL/21?1(        1 2tJoa
          UNITED STATES OF AMERICA                                          Judgment in a Criminal Case UrH                /21?AYl
                                                                                                                               DIs.,.
                                v.                                          (For Revocation of Probation or Supervised Rel~g"'I?IC~/C'" CO
                                                                                                                                             u
                     VERNON HENRY                                                                                              N OF"F"lg: ILLINiJ;s

                                                                            Case No. 4:01 CR40036-006-JPG
                                                                            USM No. 05334-025
                                                                             Judith A. Kuenneke, AFPD
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)              as alleged in petition            of the term of supervision.
o was found in violation of condition(s)                  _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number                Nature of Violation                                                              Violation Ended
Statutory                            The defendant failed to make monthly payments as ordered



Standard # 2                         The defendant failed to report to probation as directed                     10/22/2008



       The defendant is sentenced as provided in pages 2 through                 3     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economIC cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5667                          12/08/2008
                                                                                                                              ent
Defendant' s Year of Birth:             1964

City and State of Defendant's Residence:
Mounds City, IL
                                                                                                                           District Judge


                                                                                    J.tL!<<¥4~.u
                                                                                                    Name and Title of Judge

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AO 245D                                                        #230
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DEFENDANT: VERNON HENRY
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                                                     ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number              Nature of Violation                                                              Concluded
Special                       The defendant failed to call on-site drug testing program                        10108/2008
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              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                              Judgment -   Page   3     of       3
 DEFENDANT: VERNON HENRY
 CASE NUMBER: 4:01 CR40036-006-JPG


                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
11 months




      o    The court makes the following recommendations to the Bureau of Prisons:




      'i/ The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                  to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                            By
                                                                                        DEPUTY UNITED STATES MARSHAL
